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UNITED STATES DISTRICT COURT JAN 08 2018
WESTERN DISTRICT OF NORTH CAROLINA
’ ASHEVILLE DIVISION Clerk, U.S. Dist. Court
W. Dist. of N.C.
)
TERI LYNN HINKLE )
Plaintiff. )
) Case No_|-. |IS-<v- F
vs )
)
EXPERIAN INFORMATION )
SOLUTIONS, INC.; TRANS UNION ) ot.
LLC; EQUIFAX, INC. ) Judge Reiclin gen
Defendants )
)
) TRIAL BY JURY DEMANDED
)

COMPLAINT FOR VIOLATIONS OF THE FCRA

JURISDICTION
This court has jurisdiction under 15 U.S.C. § 1681p and 28 U.S.C § 1331.
All conditions precedent to the bringing of this action have been performed.
PARTIES

The Plaintiff in this lawsuit is Teri Lynn Hinkle, a natural person, who resides in Cherokee

County, North Carolina.

Defendant Experian Information Solutions, Inc. (Experian) is a Consumer Reporting Agency
with corporate offices at 475 Anton Blvd., Costa Mesa, CA 92626.

Defendant Equifax, Inc. (Equifax) is a Consumer Reporting Agency with corporate offices at
1550 Peachtree Street, Atlanta, GA 30309.

Defendant Trans Union, LLC (Trans Union) is a Consumer Reporting Agency with corporate

offices at 555 W. Adams Street Chicago, IL 60661.

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VENUE
The occurrences which give rise to this action occurred in Cherokee County, North Carolina
and Plaintiff resides in Cherokee County, North Carolina.

Venue is proper in the Western District of North Carolina.

GENERAL ALLEGATIONS c
Plaintiff made a written request sent by certified mail for a copy of her full consumer file
disclosure which was received by Experian on September 28, 2017. See Exhibit 1 attached.
In response to her very specific request for her full consumer file disclosure Plaintiff
received a letter which was not responsive to her request.
Plaintiff made a written request sent by certified mail for a copy of her full consumer file
disclosure which was received by Equifax on September 14, 2017 See Exhibit 1 attached..
In response to her very specific request for her full consumer file disclosure Plaintiff
received a letter and an empty credit report which was not responsive to her request. See
Exhibit 3 attached.
Plaintiff made a written request sent by certified mail for a copy of her full consumer file
disclosure which was received by Trans Union on September 28, 2017 See Exhibit 1
attached.
In response to her very specific request for her full consumer file disclosure Plaintiff
received a letter which was not responsive to her request. See Exhibit 3 attached.
Plaintiff, in making the exact same request of each of the Defendants, specified in great detail

exactly what specific sections of the Fair Credit Reporting Act (FCRA) requires each

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Defendant to provide a full consumer file disclosure at least once per year at no charge
when a request is made by a consumer. See Exhibit 1 attached.

Plaintiff's request for a full consumer file disclosure from each Defendant was the first
request for a disclosure within 12 months and identification in the form of a copy of her
social security card and current state driver’s license was attached to the request for
identification.

After receiving a response from each Defendant that did not comply with the request made,
Plaintiff made a second and final request for a full consumer file disclosure pursuant to the
FCRA of each Defendant. See Exhibit 2 attached. A copy of the initial letter was sent with
the second request for clarification along with identification in the form of a copy of
Plaintiff's social security card and driver’s license as well as other documents as requested
for identification.

At no time did Plaintiff make any request for a credit report from the Defendants but instead
was very specific in requesting a full consumer file disclosure pursuant to 15 U.S.C. §
1681g(a)(1) as outlined in the initial request.

In response to Plaintiff’s second request for a full consumer file disclosure to Experian she
received nothing, which was not responsive to her request as required by 15 U.S.C. §

1681 g(a)(1).

In response to Plaintiff's second request for a full consumer file disclosure to Equifax she

received a duplicate of the first empty credit report which was not responsive to her request

as required by 15 U.S.C. § 1681 g(a)(1).

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In response to Plaintiff's second request for a full consumer file disclosure to Trans Union
she received a duplicate of the first letter which was not responsive to her request as required
by 15 U.S.C. § 1681 g(a)(1).

Upon information and belief there is substantial information relating to the Plaintiff that is
contained in all Defendants’ files that has not been disclosed to her including, but not limited
to, information that was previously shown in her credit reports and additional information
that is provided to prospective creditors, insurers or employers who request information on
Plaintiff that Plaintiff has never seen or is aware of.

Upon information and belief the information that is not disclosed to Plaintiff contains
negative codes among other things that are provided to prospective creditors, insurers or
employers which directly affect how that prospective creditor, insurer or employer would
view the Plaintiff in terms of granting credit, rating insurance policies or providing
employment.

This undisclosed information has never been provided to Plaintiff even when it was
requested so she could examine it for accuracy. It could be blatantly false or at the least
misleading and without disclosure by the Defendants she would not have the opportunity to
dispute the accuracy or veracity of it which she is legally entitled to do under the law.
Disclosure of false or misleading information to prospective creditors, insurers or employers
that Plaintiff knows nothing about could paint her in a false light where she could be denied
credit or employment or pay higher interest rates on credit if it was granted and higher
premiums for insurance harming her substantially.

Upon information and belief Defendants have far more information relating to Plaintiff in

their files and databases including archived information that Plaintiff has never had access to

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or had the opportunity to review for accuracy that is provided to others when they make a
request for her file. This information has been properly requested by Plaintiff multiple times
and is required to be disclosed under 15 U.S.C. § 1681g(a)(1) when a proper request is made
by aconsumer. The Defendants have repeatedly refused to provide Plaintiff with her full
consumer file disclosure after multiple requests. Her requests were very specific in nature
and could not possibly be misconstrued as a request for her credit report by Defendants.
Because Plaintiff has not had access to that undisclosed information she has therefore had no
opportunity to review it and dispute the accuracy of it if it is found to be false yet it is
provided to potential creditors, insurers and employers without her knowledge and purposely
and illegally concealed from her.

Upon information and belief when a report is provided by the Defendants to a potential
creditor, insurer or employer that information is provided in an encrypted format with
instructions to the user that the consumer is NOT to be shown that information. There is no
prohibition in the law that information obtained by a user can be provided to the consumer if
a request for it is made yet instructions from the Defendants are to the contrary. Why?

One can only surmise that there must be some nefarious reason why that information should »
not be provided to the consumer that is sent to the user in an encrypted format with
instructions to the user to conceal it from the consumer. It obviously must contain
information that the consumer has never seen and the consumer reporting agencies don’t
want him or her to see for some unknown reason. This is obviously not in concert with the

mandate of full disclosure clearly articulated in the FCRA in unambiguous plain language.

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29. Plaintiff made multiple specific requests of each of the Defendants for a full consumer file
disclosure as clearly stated in 15 U.S.C. § 1681g(a)(1) and all Defendants have failed to
comply with the requests and are therefore in violation of the FCRA.

30. The actions of all Defendants occurred within the past 2 years and are within the Statute of
Limitations under the FCRA.

COUNT I
VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL
NON-COMPLIANCE BY DEFENDANT EXPERIAN INFORMATION SOLUTIONS
INC.

31. Paragraphs 1 through 29 are re-alleged as though fully set forth herein.

32. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

33. Experian is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §

168 1a(f).

34. Experian repeatedly failed to comply with Plaintiffs multiple requests for a full consumer
file disclosure pursuant to 15 U.S.C. § 1681g(a)(1).

WHEREFORE, Plaintiff demands judgment for damages against Experian for statutory

damages of $1000.00, any attorney’s fees, and all costs pursuant to 15 U.S.C. § 1681n.

COUNT I
VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681,
WILLFUL NON-COMPLIANCE BY DEFENDANT TRANS UNION LLC
35. Paragraphs 1 through 29 are re-alleged as though fully set forth herein.

36. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).

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37, Trans Union is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §
168 la(f).

38. Trans Union repeatedly failed to comply with Plaintif? s multiple requests for a full
consumer file disclosure pursuant to 15 U.S.C. § 1681g(a)(1).

WHEREFORE, Plaintiff demands judgment for damages against Trans Union for
statutory damages of $1000.00, any attorney’s fees, and all costs pursuant to 15 US.C. §
1681n.

COUNT Il
VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681,
WILLFUL NON-COMPLIANCE BY DEFENDANT EQUIFAX, INC.
39. Paragraphs 1 through 29 are re-alleged as though fully set forth herein.
40. Plaintiff is a consumer within the meaning of the FCRA, 15 U.S.C. § 1681a(c).
41. Equifax is a consumer reporting agency within the meaning of the FCRA, 15 U.S.C. §
1681a(f).
42. Equifax repeatedly failed to comply with Plaintiffs multiple requests for a full consumer file
disclosure pursuant to 15 U.S.C. § 1681 g(a)(1).
WHEREFORE, Plaintiff demands judgment for damages against EQUIFAX INC. for

statutory damages of $1000.00, any attorney’s fees, and all costs pursuant to 15 U.S.C. §

1681n.

DEMAND FOR TRIAL BY JURY

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Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.

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Dated: January 4, 2018

Respectfully Submitted,

Teti Lynn Hinkle

19 Mossy Creek Trail

Murphy, North Carolina 28906

828-494-2007

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